                                           Case 15-07000-JJG-7A                Doc 34 FiledFORM 1
                                                                                              07/26/18  EOD 07/26/18                        14:22:52         Pg 1 of Page
                                                                                                                                                                     2 No:        1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                        15-07000                                                                                                    Trustee Name:                        Randall L. Woodruff
Case Name:                       JONES, CHARLES PAUL AND JONES, ROBIN LYNNE                                                                  Date Filed (f) or Converted (c):     08/18/2015 (f)
For the Period Ending:           06/30/2018                                                                                                  §341(a) Meeting Date:                09/25/2015
                                                                                                                                             Claims Bar Date:                     01/26/2016
                                       1                                            2                      3                           4                        5                                       6

                       Asset Description                                       Petition/          Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled         (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                    Value                   Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                Less Liens, Exemptions,
                                                                                                   and Other Costs)

Ref. #
1        residence at 2416 Mimosa Lane, Anderson,                               $175,000.00                           $0.00            OA                            $0.00                                          FA
         IN 46011 consisting of 2 bed; 2 bath;
         purchased 11/11 for $175,000
2        condo at Portamar 501, Puerto Vallarta,                                $160,000.00                    $144,500.00                                           $0.00                                  $160,000.00
         Jalisco, Mexico
3        checking/savings                                                            $400.00                          $0.00            OA                            $0.00                                          FA
4        beds; sofa; dinette; televisions; chairs;                                 $2,500.00                          $0.00            OA                            $0.00                                          FA
         lamps; drerssers; misc. household furniture,
         appliances, and electronics, all used
         Location: 2416 Mimosa Lane, Anderson IN
         46011
5        books; pictures; household decor Location:                                  $200.00                          $0.00            OA                            $0.00                                          FA
         2416 Mimosa Lane, Anderson IN 46011
6        wearing apparel and personal effects                                        $100.00                          $0.00            OA                            $0.00                                          FA
         Location: 2416 Mimosa Lane, Anderson IN
         46011
7        wedding rings; costume jewelry                                              $400.00                          $0.00            OA                            $0.00                                          FA
8        401k/retirement from former employment                                    Unknown                            $0.00            OA                            $0.00                                          FA
9        pension/retirement from former employer                                   Unknown                            $0.00            OA                            $0.00                                          FA
10       2013 Toyota Rabb 4 (leased)                                                    $0.00                         $0.00            OA                            $0.00                                          FA
11       time share at Bliss Resorts                                               Unknown                            $0.00            OA                            $0.00                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                      Gross Value of Remaining Assets
                                                                               $338,600.00                     $144,500.00                                            $0.00                                 $160,000.00



Major Activities affecting case closing:
 07/02/2018      Awaiting closing in Mexico
 01/18/2018      Motion to Sell Real Estate in Mexico has been filed. Awaiting Order re same.
 05/01/2017      Trustee still trying to employ broker to sell condo.
                                        Case 15-07000-JJG-7A                   Doc 34 FiledFORM 1
                                                                                              07/26/18  EOD 07/26/18                                      14:22:52          Pg 2 of Page
                                                                                                                                                                                    2 No:        2
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                     15-07000                                                                                                                      Trustee Name:                        Randall L. Woodruff
Case Name:                    JONES, CHARLES PAUL AND JONES, ROBIN LYNNE                                                                                    Date Filed (f) or Converted (c):     08/18/2015 (f)
For the Period Ending:        06/30/2018                                                                                                                    §341(a) Meeting Date:                09/25/2015
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                                  1                                                  2                               3                                4                        5                                       6

                     Asset Description                                          Petition/                  Estimated Net Value                   Property                Sales/Funds            Asset Fully Administered (FA)/
                      (Scheduled and                                          Unscheduled                 (Value Determined by                   Abandoned               Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                       Value                           Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

 06/01/2016    Trustee waiting on sales agent contract to expire so he can enter into contract with different sales agent. Contract expires 07/23/2016.


Initial Projected Date Of Final Report (TFR):           03/31/2017                            Current Projected Date Of Final Report (TFR):               11/30/2018               /s/ RANDALL L. WOODRUFF
                                                                                                                                                                                   RANDALL L. WOODRUFF
